Case 1:05-cv-01125-.]DT-STA Document 7 Filed 06/14/05 Page 1 of 2 Page|D 3

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IN THE UNITED sTATEs DISTRICT CoURT 050/fir 4_,,~;,,,,,
FoR THE WEsTERN DISTRICT oF TENNESSEE "*‘-"’/ '
EASTERN DivlsioN - H_ /'/""

MlCHELLE GRANTHAM
on behalf of deceased WILLARD GRANTHAM,

 

Plaintiff,
VS. No. 95-1~684-T
0 S’ ll& S"\'_
DEBRA KELLY,
Defendant.

ORDER ON MOTION FOR ADMISSION PRO HAC VICE
Joseph R. Murray, II, has moved to appear pg hac m in this action on behalf of the
plaintiff Mr. Murray is licensed to practice law in the State of Mississippi, the United States
District Court for the Northern and Southern District of Mississippi, and the United States
Court of Appeals for the Fifth Circuit. For good cause shown, that motion is granted It is
hereby ordered that Mr. Murray be admitted go g me as counsel for plaintiff, and may

actively participate in any trial, pre-trial and post-trial proceedings before this court.

l S D. TODD
TED STATES DISTRICT JUDGE

DATE

lT IS SO ORDERED.

Th|s document entered on the docket sheet ln compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01125 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

